                               UNITED STATES DISTRICT COURT
           Case 2:21-mj-10097-MAH Document 23 Filed 08/23/21 Page 1 of 1 PageID: 49
                                                      for the
                                               District of New Jersey

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                                                                                       JAMES B. CLARK, III

            UNITED STATES OF AMERICA
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                                         Plaintiff
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                   CHARLES SALINAS
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              Bail Review Hearing
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